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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                            SAN ANTONIO DIVISION

                                          §
 LULAC TEXAS; VOTO LATINO,                §
 TEXAS ALLIANCE FOR RETIRED               §
 AMERICANS; TEXAS AFT,                    §
                                          §
             Plaintiffs,                  §
                                          §
v.                                        §
                                          §
                                          §
JOSE ESPARZA, in his official             §      CIVIL ACTION NO: 1:21-CV-00786,
capacity as the Texas Deputy Secretary    §      consolidated with 5:21-CV-0844-XR
of State; KEN PAXTON, in his official     §
capacity as the Texas Attorney            §
General; JACQUELYN CALLANEN,              §
in her official capacity as the Bexar     §
County Elections Administrator;           §
DANA DeBEAUVOIR, in her official          §
capacity as the Travis County Clerk;      §
ISABEL LONGORIA, in her official          §
capacity as the Harris County Elections   §
Administrator; YVONNE RAMÓN, in           §
her official capacity as the Hidalgo      §
County Elections Administrator;           §
MICHAEL SCARPELLO, in his                 §
official capacity as the Dallas County    §
Elections Administrator; LISA WISE,       §
in her official capacity as the El Paso   §
County Elections Administrator,           §
                                          §
            Defendants.                   §
                                          §

          ORIGINAL ANSWER OF DEFENDANT MICHAEL SCARPELLO

TO THE HONORABLE JUDGE OF SAID COURT:




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       COMES NOW Defendant Michael Scarpello (“Defendant Scarpello”), in his official

capacity, and for his Original Answer to Plaintiff's Original Complaint (“Complaint”) (Doc. 1)

admits, denies, and alleges as follows:

                                           I.
                                  RESPONSIVE PLEADINGS

                                   NATURE OF THE CASE

       1.       Paragraph 1 of Plaintiff’s Complaint contains legal conclusions and argument to

which no responsive pleading is required. To the extent any response is required, due to the

vagueness and generality of the allegations in Paragraph 1, Defendant Scarpello is without

sufficient information or knowledge to admit or deny same, therefore the allegations are denied.

       2.       Defendant Scarpello admits that Texans had to vote in the midst of a global health

pandemic. Paragraph 2 includes conclusory statements and argument to which no response is

required. Defendant Scarpello is without sufficient information or knowledge to admit or deny

the remainder of the allegations in Paragraph 2, therefore the allegations are denied.

       3.       Defendant Scarpello admits that Texas had historic voter turnout in the 2020

general election. Paragraph 3 includes conclusory statements and argument to which no response

is required. Defendant Scarpello is without sufficient information or knowledge to admit or deny

the remainder of the allegations in Paragraph 3, therefore the allegations are denied.

       4.       Paragraph 4 is not directed at Defendant Scarpello and Defendant Scarpello is not

required to respond. Paragraph 2 includes conclusory statements and argument to which no

response is required. To the extent any response is required, Defendant Scarpello is without

sufficient information or knowledge to admit or deny the allegations in Paragraph 4, therefore the

allegations are denied.


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       5.       Paragraph 5 is not directed at Defendant Scarpello and Defendant Scarpello is not

required to respond. To the extent any response is required, Defendant Scarpello is without

sufficient information or knowledge to admit or deny the allegations in Paragraph 5, therefore the

allegations are denied.

       6.       Paragraph 6 is not directed at Defendant Scarpello and Defendant Scarpello is not

required to respond. To the extent any response is required, Defendant Scarpello is without

sufficient information or knowledge to admit or deny the allegations in Paragraph 6, therefore the

allegations are denied.

       7.       Paragraph 7 of Plaintiff’s Complaint contains legal conclusions and argument to

which no responsive pleading is required. As to the remainder of the allegations, Defendant

Scarpello is without sufficient information or knowledge to admit or deny same, therefore the

allegations are denied.

       8.       Defendant Scarpello admits that the Texas Legislature attempted to pass SB 7 and

the effort to pass SB 7 failed when members of the Texas House of Representatives left the

legislative chamber in protest, denying the Legislature the quorum. Defendant Scarpello is without

sufficient information or knowledge to admit or deny the remainder of the allegations in Paragraph

8, therefore the allegations are denied.

       9.       Defendant Scarpello admits that Governor Abbot announced a special session, the

Texas legislature had hearings on SB 1, and members of the Texas House of Representatives left

the State denying the House a quorum, which delayed the passage of SB 1. Paragraph 9 includes

conclusory statements and argument to which no response is required. Defendant Scarpello is

without sufficient information or knowledge to admit or deny the remainder of the allegations in

Paragraph 9, therefore the allegations are denied.

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       10.     Paragraph 10 contains legal conclusions to which no responsive pleading is

required and legal arguments on the interpretation of SB 1, which speaks for itself. To the extent

that the remaining allegations in Paragraph 10 contains factual allegations to which a responsive

pleading is required, Defendant Scarpello admits that the Texas Legislature enacted SB 1, SB 1

eliminates drive-thru voting, SB 1 limits early voting hours, SB 1 promulgates new rules regarding

poll watchers, and SB 1 criminalizes certain conduct.

       11.     Paragraph 11 contains legal conclusions and arguments to which no response is

required on the interpretation of SB 1, which speaks for itself. To the extent that the remaining

allegations in Paragraph 11 contains factual allegations to which a responsive pleading is required,

Defendant Scarpello admits that the Texas Legislature enacted SB 1 and that supporters of former

President Donald Trump have alleged voter fraud. As to any other factual allegations in Paragraph

11, Defendant Scarpello is without sufficient information or knowledge to admit or deny, therefore

the allegations are denied.

       12.     Paragraph 12 contains legal conclusions and arguments to which no responsive

pleading is required. To the extent that the remaining allegations in Paragraph 12 contains factual

allegations to which a responsive pleading is required. Defendant Scarpello is without sufficient

information or knowledge to admit or deny, therefore the allegations are denied.

       13.     Defendant Scarpello admits that Plaintiff brought this lawsuit. Defendant Scarpello

is without sufficient information or knowledge to admit or deny the remainder of the allegations

in Paragraph 13, therefore the allegations are denied.

                                 JURISDICTION AND VENUE

       14.     Paragraph 14 contains argument to which no responsive pleading is required. To

the extent a response is required, Defendant Scarpello admits that Plaintiff brings this action under

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2 U.S.C. §§ 1983 and 1988. Defendant Scarpello is without sufficient information or knowledge

to admit or deny, therefore the remaining allegations are denied.

          15.   Defendant Scarpello admits Paragraph 15. Defendant Scarpello, however, denies

that he has deprived anyone of rights under color of state law or violated the U.S. Constitution and

the Voting Rights Act, 52 U.S.C. § 10301 et seq.

          16.   Defendant Scarpello admits that the court has personal jurisdiction over him and he

is sued in his official capacity. Defendant Scarpello is without sufficient information or knowledge

to admit or deny the remainder of the allegations in Paragraph 16, therefore the allegations are

denied.

          17.   Defendant Scarpello admits that venue is proper. Defendant Scarpello, however,

denies that a substantial part of the events that give rise to Plaintiffs’ claims against him occurred

and will occur in this district.

          18.   Paragraph 18 contains factual allegations and legal conclusions to which a

responsive pleading is not required. To the extent a response is required, Defendant Scarpello

states that Federal Rules of Civil Procedure 57 and 65 and 28 U.S.C. §§ 2201 and 2202 speak for

themselves.

                                                PARTIES

          19.   Defendant Scarpello admits that Plaintiff LULAC is a Latino civil rights

organization in the United States, that LULAC is involved in protecting the civil and voting rights

of Latinos, and that LULAC states that it brings this action on behalf of itself and its members.

Defendant Scarpello is without sufficient information or knowledge to admit or deny the remainder

of the allegations in Paragraph 19, therefore the allegations are denied.



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       20.     Defendant Scarpello admits that Plaintiff LULAC is involved in voter registration

and voter education activities and other activities and programs designed to increase voter turnout

among its members. Defendant Scarpello is without sufficient information or knowledge to admit

or deny the remainder of the allegations in Paragraph 20, therefore the allegations are denied.

       21.     Defendant Scarpello admits that Plaintiff Voto Latino it brings this action on behalf

of itself and its constituents and supporters and is involved in certain voter activities. Defendant

Scarpello is without sufficient information or knowledge to admit or deny the remainder of the

allegations in Paragraph 21, therefore the allegations are denied.

       22.     Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 22, therefore the allegations are denied.

       23.     Defendant Scarpello admits that Plaintiff Texas Alliance it brings this action on

behalf of itself and its members. Defendant Scarpello is without sufficient information or

knowledge to admit or deny the remainder of the allegations in Paragraph 23, therefore the

allegations are denied.

       24.     Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 24, therefore the allegations are denied.

       25.     Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 25, therefore the allegations are denied.

       26.     Paragraph 26 is not directed at Defendant Scarpello and Defendant Scarpello is not

required to respond. To the extent any response is required, Defendant Scarpello admits that Jose

Esparza is the current Texas Deputy Secretary of State, he was the acting Texas Secretary of State

until the recent appointment of John Scott, and the Secretary is the State’s chief elections officer.

The rest of Paragraph 26 contains legal conclusions and legal arguments regarding the Texas

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Election Code, which speaks for itself. To the extent that the remaining allegations in Paragraph

26 contains factual allegations to which a responsive pleading is required, Defendant Scarpello is

without sufficient information or knowledge to admit or deny, therefore the allegations are denied.

       27.     Paragraph 27 is not directed at Defendant Scarpello and Defendant Scarpello is not

required to respond. To the extent any response is required, Defendant Scarpello admits that Ken

Paxton is the Texas Attorney General and is empowered to prosecute criminal offenses prescribed

by the election code. The rest of Paragraph 27 contains legal conclusions to which no responsive

pleading is required and legal arguments regarding the Texas Election Code and SB 1, which

speaks for itself. To the extent that the remaining allegations in Paragraph 27 contains factual

allegations to which a responsive pleading is required, Defendant Scarpello is without sufficient

information or knowledge to admit or deny, therefore the allegations are denied.

       28.     Paragraph 28 is not directed at Defendant Scarpello and Defendant Scarpello is not

required to respond. To the extent any response is required, Defendant Scarpello is without

sufficient information or knowledge to admit or deny the allegations in Paragraph 28, therefore

the allegations are denied.

       29.     Paragraph 29 is not directed at Defendant Scarpello and Defendant Scarpello is not

required to respond. To the extent any response is required, Defendant Scarpello is without

sufficient information or knowledge to admit or deny the allegations in Paragraph 29, therefore

the allegations are denied.

       30.     Paragraph 30 is not directed at Defendant Scarpello and Defendant Scarpello is not

required to respond. To the extent any response is required, Defendant Scarpello is without

sufficient information or knowledge to admit or deny the allegations in Paragraph 30, therefore

the allegations are denied.

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       31.     Paragraph 31 is not directed at Defendant Scarpello and Defendant Scarpello is not

required to respond. To the extent any response is required, Defendant Scarpello is without

sufficient information or knowledge to admit or deny the allegations in Paragraph 31, therefore

the allegations are denied.

       32.     Defendant Scarpello admits that he is sued in his official capacity as the Dallas

County Elections Administrator. As to the remaining allegations, SB 1 speaks for itself. To the

extent any response is required, Defendant admits that he has been sued in this matter regarding

various provisions of SB 1, but denies that he has implemented SB 1. Defendant Scarpello is

without sufficient information or knowledge to admit or deny the allegations in Paragraph 32,

therefore the allegations are denied.

       33.     Paragraph 33 is not directed at Defendant Scarpello and Defendant Scarpello is not

required to respond. To the extent any response is required, Defendant Scarpello is without

sufficient information or knowledge to admit or deny the allegations in Paragraph 33, therefore

the allegations are denied.

                              STATEMENT OF FACTS AND LAW

I.     Voter Turnout in Recent Texas Elections


       34.     Due to the vagueness and generality of the allegations in Paragraph 34, Defendant

Scarpello is without sufficient information or knowledge to admit or deny same, therefore the

allegations are denied.

       35.     Defendant Scarpello admits that the most recent midterm and presidential elections

saw the Dallas County’s highest voter turnout in decades and that Covid-19 created certain




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challenges. Defendant Scarpello is without sufficient information or knowledge to admit or deny

the remainder of the allegations in Paragraph 35, therefore the allegations are denied.

       36.     Paragraph 36 contains references to statistical data that speaks for itself. Defendant

Scarpello admits that there has been demographic shifts in Texas voting age population and

eligible Hispanic and Black voters have risen.        Defendant Scarpello is without sufficient

information or knowledge to admit or deny the remainder of the allegations in Paragraph 36,

therefore the allegations are denied.

       A.      The 2018 Election

       37.     Defendant Scarpello admits that the 2018 midterm elections saw the highest voter

turnout in Dallas County in over two decades.          Defendant Scarpello is without sufficient

information or knowledge to admit or deny the remainder of the allegations in Paragraph 37,

therefore the allegations are denied.

       38.     Defendant Scarpello admits that in the 2018 midterm election that certain

Democratic candidates defeated certain Republican incumbents. Defendant Scarpello is without

sufficient information or knowledge to admit or deny the remainder of the allegations in Paragraph

38, therefore the allegations are denied.

       39.     Defendant Scarpello admits Ted Cruz won the 2018 United States Senate election

in Texas. Defendant Scarpello is without sufficient information or knowledge to admit or deny the

remainder of the allegations in Paragraph 39, therefore the allegations are denied.

       40.     Defendant Scarpello admits that the Republican candidates for lieutenant governor

and attorney general won in the 2018 election. Defendant Scarpello is without sufficient

information or knowledge to admit or deny the remainder of the allegations in Paragraph 40,

therefore the allegations are denied.

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       B.      The 2020 Election

       41.     Defendant Scarpello admits that voter turnout increased in the 2020 general election

and that in the 1992 election Ross Perot and George H.W. Bush were on the ballot for president.

Defendant Scarpello is without sufficient information or knowledge to admit or deny the remainder

of the allegations in Paragraph 41, therefore the allegations are denied.

       42.     Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 42, therefore the allegations are denied.

       43.     Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 43, therefore the allegations are denied.

       44.     Paragraph 44 includes conclusory statements and argument to which no response

is required. Defendant Scarpello is without sufficient information or knowledge to admit or deny

the allegations in Paragraph 44, therefore the allegations are denied.

       45.     Paragraph 45 includes conclusory statements and argument to which no response

is required. Defendant Scarpello is without sufficient information or knowledge to admit or deny

the allegations in Paragraph 45, therefore the allegations are denied.

               1.         Early Voting in the 2020 Election

       46.     Due to the vagueness and generality of the allegations in Paragraph 46, Defendant

Scarpello is without sufficient information or knowledge to admit or deny same, therefore the

allegations are denied.

       47.     Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 47, therefore the allegations are denied.

       48.     Defendant Scarpello admits that Dallas County elections officials worked to ensure

that voters had the opportunity to participate in the 2020 general election and offered early voting.

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Defendant Scarpello is without sufficient information or knowledge to admit or deny the remainder

of the allegations in Paragraph 48, therefore the allegations are denied.

       49.     Paragraph 49 is not directed at Defendant Scarpello and Defendant Scarpello is not

required to respond. To the extent any response is required, Defendant Scarpello admits that Harris

County stayed open past 7:00 pm to accommodate increased voter turnout. Defendant Scarpello

is without sufficient information or knowledge to admit or deny the remaining allegations in

Paragraph 49, therefore the allegations are denied.

       50.     Paragraph 50 is not directed at Defendant Scarpello and Defendant Scarpello is not

required to respond. To the extent any response is required, Defendant Scarpello admits that Harris

County had 24-hour voting in certain polling places. Defendant Scarpello is without sufficient

information or knowledge to admit or deny the allegations in Paragraph 50, therefore the remaining

allegations are denied.

       51.     Paragraph 51 is not directed at Defendant Scarpello and Defendant Scarpello is not

required to respond. Defendant Scarpello admits that Harris County operated drive-thru voting

sites. To the extent any response is required, Defendant Scarpello is without sufficient information

or knowledge to admit or deny the remaining allegations in Paragraph 51, therefore the allegations

are denied.

       52.     Defendant Scarpello admits that Harris County is the largest county in Texas and

is very diverse. Defendant Scarpello is without sufficient information or knowledge to admit or

deny the remaining allegations in Paragraph 52, therefore the remaining allegations are denied.

       53.     Paragraph 53 is not directed at Defendant Scarpello and Defendant Scarpello is not

required to respond. Defendant Scarpello admits that Harris County actions of extending early

voting hours and drive-thru voting likely increased access to the franchise. Paragraph 53 includes

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conclusory statements and argument to which no response is required. To the extent any response

is required, Defendant Scarpello is without sufficient information or knowledge to admit or deny

the remaining allegations in Paragraph 53, therefore the allegations are denied.

               2.      Absentee Voting in the 2020 Election

       54.     Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 54, therefore the allegations are denied.

       55.     Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 55, therefore the allegations are denied.

       56.     Defendant Scarpello admits that Dallas County used one mail ballot drop off

location. Defendant Scarpello is without sufficient information or knowledge to admit or deny the

remainder of the allegations in Paragraph 56, therefore the allegations are denied.

       57.     Paragraph 57 contains references to statistical data that speaks for itself. Defendant

Scarpello admits that Dallas County has a significant minority population and at least 77,588

(exactly 78,147) people voted by mail in the 2020 general election,. Defendant Scarpello is without

sufficient information or knowledge to admit or deny the remainder of the allegations in Paragraph

57, therefore the allegations are denied.

       58.     Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 58, therefore the allegations are denied.

       59.     Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 59, therefore the allegations are denied.

               3.      Texas Officials’ Efforts to Disenfranchise Voters During the 2020
                       Election




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       60.     Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 60, therefore the allegations are denied.

       61.     Defendant Scarpello is without sufficient information or knowledge to admit or

deny the of the allegations in Paragraph 61, therefore the allegations are denied.

       62.     Paragraph 62 contains arguments and conclusory statements to which no responsive

pleading is required. To the extent a response is required, Defendant Scarpello is without sufficient

information or knowledge to admit or deny the allegations in Paragraph 62, therefore the

allegations are denied.

       63.     Defendant Scarpello admits that on October 1, 2020, Governor Abbott issued a

proclamation that limited the use of absentee ballot drop boxes to just one drop box location per

county, regardless of physical size or population and Dallas County had one drop off mail ballot

location in the 2020 general election. Defendant Scarpello is without sufficient information or

knowledge to admit or deny the remainder of the allegations in Paragraph 63, therefore the

allegations are denied.

       64.     Paragraph 64 is not directed at Defendant Scarpello and Defendant Scarpello is not

required to respond. Defendant Scarpello admits that Harris County and other counties scrambled

to inform voters that they could no longer use additional drop boxes. To the extent any response

is required, Defendant Scarpello is without sufficient information or knowledge to admit or deny

the allegations in Paragraph 64, therefore the allegations are denied.

       65.     Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 65, therefore the allegations are denied.

       66.     Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 66, therefore the allegations are denied.

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       67.     Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 67, therefore the allegations are denied.

       68.     Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 68, therefore the allegations are denied.

       69.     Paragraph 69 contains argument and conclusory statements to which no responsive

pleading is required. To the extent a response is required, Defendant Scarpello is without sufficient

information or knowledge to admit or deny the allegations in Paragraph 69, therefore the

allegations are denied.

       70.     Defendant Scarpello admits that Trump is the former president of the US and has

made voter fraud allegations. The remainder of Paragraph 70 contains arguments and conclusory

statements to which no responsive pleading is required. To the extent a response is required,

Defendant Scarpello is without sufficient information or knowledge to admit or deny the

allegations in Paragraph 70, therefore the allegations are denied.

       71.     Defendant Scarpello admits that the former director of the Cybersecurity and

Infrastructure Agency, has stated that the 2020 general election was “the most secure in American

history.” Defendant Scarpello is without sufficient information or knowledge to admit or deny the

remaining allegations in Paragraph 71, therefore the allegations are denied.

       72.     Defendant Scarpello admits that former U.S. Attorney General William Barr stated

that there was no evidence of widespread election fraud regarding the 2020 general election.

Defendant Scarpello is without sufficient information or knowledge to admit or deny the remaining

allegations in Paragraph 72, therefore the allegations are denied.

       73.     Paragraph 73 contains arguments and conclusory statements to which no responsive

pleading is required. To the extent a response is required, Defendant Scarpello admits that to the

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best of his understanding and belief there is no evidence of widespread voter fraud in Texas or

elsewhere in the United States. Defendant Scarpello is without sufficient information or knowledge

to admit or deny the remaining allegations in Paragraph 73, therefore the allegations are denied.

       74.     Defendant Scarpello admits that Keith Ingram is the director for the elections

division in the Secretary’s office. Defendant Scarpello is without sufficient information or

knowledge to admit or deny the remaining allegations in Paragraph 74, therefore the allegations

are denied.

       75.     Paragraph 75 includes conclusory statements and argument to which no response

is required. Defendant Scarpello is without sufficient information or knowledge to admit or deny

the factual allegations in Paragraph 75, therefore the allegations are denied.

               4.      Texas Officials’ Efforts to Disenfranchise Voters in Other States

       76.     Defendant Scarpello admits that to the best of his understanding and belief there is

no evidence of widespread voter fraud in Texas or elsewhere in the United States. Defendant

Scarpello is without sufficient information or knowledge to admit or deny the remaining

allegations in Paragraph 76, therefore the allegations are denied.

       77.     Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 77, therefore the allegations are denied.

       78.     Paragraph 78 cites case law, which speaks for itself. As to the remaining

allegations, Defendant Scarpello is without sufficient information or knowledge to admit or deny,

therefore the allegations are denied.

       79.     Defendant Scarpello admits that the Texas Attorney General filed a lawsuit

challenging election results in Georgia, Pennsylvania, Michigan, and Wisconsin and that other

claims of voter fraud were dismissed by other courts. Defendant Scarpello is without sufficient

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information or knowledge to admit or deny the remaining allegations in Paragraph 79, therefore

the allegations are denied.

         80.      Defendant Scarpello admits Paragraph 80.

         81.      Paragraph 81 cites case law, which speaks for itself.

         82.      Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 82, therefore the allegations are denied.

         83.      Paragraph 62 contains legal conclusions and arguments to which no responsive

pleading is required and rulings in a lawsuit which speaks for itself. Defendant Scarpello admits

that Gohmert and some Arizona Republicans sued the Vice-President arguing he had authority to

determine which elections should be counted for each state and the lawsuit was dismissed.

Defendant Scarpello is without sufficient information or knowledge to admit or deny the remaining

allegations in Paragraph 83, therefore the allegations are denied.

         84.      Defendant Scarpello admits Paragraph 84..

         85.      Defendant Scarpello admits that one police officer died and others were injured in

an attack on the US Capital on January 6, 2021. Defendant Scarpello is without sufficient

information or knowledge to admit or deny the remaining allegations in Paragraph 85, therefore

the allegations are denied.

         86.      Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 86, therefore the allegations are denied.

   II.         Senate Bill 7

         87.      Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 87, therefore the allegations are denied.



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       88.     Paragraph 88 includes conclusory statements and argument to which no response

is required. Defendant Scarpello admits that SB 7 was a precursor to SB 1 and that SB & died on

the Texas House floor. Defendant Scarpello is without sufficient information or knowledge to

admit or deny the remaining allegations in Paragraph 88, therefore the allegations are denied.

       89.     Paragraph 89 contains argument and conclusory statements to which no responsive

pleading is required. To the extent a response is required, Defendant Scarpello is without sufficient

information or knowledge to admit or deny the allegations in Paragraph 89, therefore the

allegations are denied.

       90.     Defendant Scarpello admits that SB 7 was brought for consideration in the Texas

Senate’s State Affairs Committee and many democratic lawmakers opposed SB 7. Defendant

Scarpello is without sufficient information or knowledge to admit or deny the remaining

allegations in Paragraph 90, therefore the allegations are denied.

       91.     Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 91, therefore the allegations are denied.

       92.     Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 92, therefore the allegations are denied.

       93.     Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 93, therefore the allegations are denied.

       94.     Defendant Scarpello admits that the Texas Senate passed SB 7 and it was sent to

the Texas House for consideration. Defendant Scarpello is without sufficient information or

knowledge to admit or deny the remaining allegations in Paragraph 94, therefore the allegations

are denied.



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       95.     Defendant Scarpello admits that Representative Cain authored HB 6. Defendant

Scarpello is without sufficient information or knowledge to admit or deny the remaining

allegations in Paragraph 95, therefore the allegations are denied.

       96.     Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 96, therefore the allegations are denied.

       97.     Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 97, therefore the allegations are denied.

       98.     Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 98, therefore the allegations are denied.

       99.     Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 99, therefore the allegations are denied.

       100.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 100, therefore the allegations are denied.

       101.    Defendant Scarpello admits that some Texans spoke out against HB 6. Defendant

Scarpello is without sufficient Defendant Scarpello is without sufficient information or knowledge

to admit or deny the remaining allegations in Paragraph 101, therefore the allegations are denied.

       102.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 102, therefore the allegations are denied.

       103.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 103, therefore the allegations are denied.

       104.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 104, therefore the allegations are denied.



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       105.    Defendant Scarpello admits that SB 7 was sent to the Texas House and some

Texans testified against HB 6. Defendant Scarpello is without sufficient information or knowledge

to admit or deny the remaining allegations in Paragraph 105, therefore the allegations are denied.

       106.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 106 therefore the allegations are denied.

       107.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 107, therefore the allegations are denied.

       108.    Paragraph 108 includes conclusory statements and argument to which no response

is required. Defendant Scarpello admits that SB 7 passed out of the Elections Committee along

party lines and there were objections to SB 7.        Defendant Scarpello is without sufficient

information or knowledge to admit or deny the remaining allegations in Paragraph 108, therefore

the allegations are denied.

       109.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 109, therefore the allegations are denied.

       110.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 110, therefore the allegations are denied.

       111.    Defendant Scarpello admits that SB 7 was brought to the House floor for debate.

The remainder of Paragraph 118 contains argument and conclusory statements to which no

responsive pleading is required. To the extent a response is required, Defendant Scarpello is

without sufficient information or knowledge to admit or deny the allegations in Paragraph 111,

therefore the allegations are denied.

       112.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 112, therefore the allegations are denied.

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       113.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 113, therefore the allegations are denied.

       114.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 114, therefore the allegations are denied.

       115.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 115, therefore the allegations are denied.

       116.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 116, therefore the allegations are denied.

       117.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 117, therefore the allegations are denied.

       118.    Paragraph 118 contains argument and conclusory statements to which no

responsive pleading is required. To the extent a response is required, Defendant Scarpello is

without sufficient information or knowledge to admit or deny the allegations in Paragraph 118,

therefore the allegations are denied.

       119.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 119, therefore the allegations are denied.

       120.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 120, therefore the allegations are denied.

       121.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 121, therefore the allegations are denied.

       122.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 122, therefore the allegations are denied.



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       123.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 123, therefore the allegations are denied.

       124.    Admits.

       125.    Defendant Scarpello admits that SB 7 was brought up for consideration in the Texas

House, and the departure of several Democratic lawmakers left the House without a quorum

resulting in the bill dying on the floor. Defendant Scarpello is without sufficient information or

knowledge to admit or deny the remaining allegations in Paragraph 125, therefore the allegations

are denied.

       126.    Paragraph 126 contains argument and conclusory statements to which no

responsive pleading is required. To the extent a response is required, Defendant Scarpello is

without sufficient information or knowledge to admit or deny the allegations in Paragraph 126,

therefore the allegations are denied.

       127.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 127, therefore the allegations are denied.

       128.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 128, therefore the allegations are denied

       129.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 129, therefore, the allegations are denied.

III.   Senate Bill 1

       A.      Legislative History

       130.    Defendant Scarpello admits that SB 7 died on the floor of the House and that

Governor Abbott threatened to veto the portion of the State’s budget that funds the salaries and



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benefits of staffers. Defendant Scarpello is without sufficient information or knowledge to admit

or deny the remaining allegations in Paragraph 126, therefore the allegations are denied.

       131.    Paragraph 131 includes conclusory statements and argument to which no response

is required. Defendant Scarpello admits that Governor Abbot vetoed Article X of the State’s

budget, and on July 7, he called the first special session of the 87th Legislative Session.

       132.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 132, therefore, the allegations are denied.

       133.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 133, therefore, the allegations are denied.

       134.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 134, therefore, the allegations are denied.

       135.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 135, therefore, the allegations are denied.

       136.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 136, therefore, the allegations are denied.

       137.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 137, therefore, the allegations are denied.

       138.    Defendant Scarpello admits that Keith Ingram is the director of the Secretary of

State’s election division. Defendant Scarpello is without sufficient information or knowledge to

admit or deny the allegations in Paragraph 138, therefore, the allegations are denied.

       139.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 139, therefore the allegations are denied.



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       140.    Paragraph 140 contains argument and conclusory statements to which no

responsive pleading is required. To the extent a response is required, Defendant Scarpello is

without sufficient information or knowledge to admit or deny the allegations in Paragraph 140,

therefore the allegations are denied.

       141.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 141, therefore, the allegations are denied.

       142.    Defendant Scarpello admits that some Texas House Democrats left the State for

Washington, D.C., denying the Texas House a quorum and some urged Congress to pass federal

voting rights legislation. The remainder of Paragraph 142 contains argument and conclusory

statements to which no responsive pleading is required. To the extent a response is required,

Defendant Scarpello is without sufficient information or knowledge to admit or deny the

allegations in Paragraph 142, therefore the allegations are denied.

       143.    Paragraph 143 contains argument and conclusory statements to which no

responsive pleading is required. To the extent a response is required, Defendant Scarpello is

without sufficient information or knowledge to admit or deny the allegations in Paragraph 143,

therefore the allegations are denied.

       144.    Defendant Scarpello admits that the first special session ended without a quorum

and Governor Abbot called a second special session. Defendant Scarpello is without sufficient

information or knowledge to admit or deny the remaining allegations in Paragraph 144, therefore

the allegations are denied.

       145.    Defendant Scarpello admits that SB 1 was reintroduced in a special session and that

it passed out of the Senate along a party line vote. Defendant Scarpello is without sufficient



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information or knowledge to admit or deny the remaining allegations in Paragraph 145, therefore

the allegations are denied.

       146.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 146, therefore, the allegations are denied.

       147.    Defendant Scarpello admits that there was a second special session and that there

was a warrant issued for absent members. Defendant Scarpello is without sufficient information

or knowledge to admit or deny the remaining allegations in Paragraph 147, therefore the

allegations are denied.

       148.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 148, therefore the allegations are denied.

       149.    Defendant Scarpello admits that the House had a committee hearing on SB 1 and

passed SB 1 along party lines. Defendant Scarpello is without sufficient information or knowledge

to admit or deny the allegations in Paragraph 149, therefore the allegations are denied.

       150.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 150, therefore the allegations are denied.

       151.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 151, therefore the allegations are denied.

       152.    Defendant Scarpello admits that the SB 1 passed in the Texas House along party

lines returned to the Senate where it passed along party lines. Defendant Scarpello is without

sufficient information or knowledge to admit or deny the remaining allegations in Paragraph 152,

therefore the allegations are denied.

       153.    Defendant Scarpello admits Paragraph 153.

       B.      The Suppressive Provisions

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       154.    Paragraph 154 contains legal conclusions and arguments to which no response is

required and references to SB 1 which speaks for itself. To the extent that the remaining allegations

in Paragraph 154 contains factual allegations to which a responsive pleading is required, Defendant

Scarpello is without sufficient information or knowledge to admit or deny the allegations, therefore

the allegations are denied.

               1.      Absentee Voting

       155.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 155, therefore the allegations are denied.

       156.    Paragraph 156 contains legal conclusions and arguments to which no response is

required and statutory citations that speaks for themself. Defendant Scarpello admits that SB1

criminalizes certain conduct. To the extent that the remaining allegations in Paragraph 154

contains factual allegations to which a responsive pleading is required, Defendant Scarpello is

without sufficient information or knowledge to admit or deny the remaining allegations, therefore

the allegations are denied.

       157.    Paragraph 157 contains legal conclusions and arguments to which no response is

required and statutory citations that speaks for themself. To the extent that the remaining

allegations in Paragraph 157 contains factual allegations to which a responsive pleading is

required, Defendant Scarpello admits Paragraph 157.

       158.    Paragraph 158 contains legal conclusions and arguments and statutory citations that

speaks for themself. To the extent that the remaining allegations in Paragraph 158 contains factual

allegations to which a responsive pleading is required, Defendant Scarpello admits Paragraph 158.

Defendant Scarpello is without sufficient information or knowledge to admit or deny the remaining

allegations, therefore the allegations are denied.

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       159.    Paragraph 159 contains and arguments to which no response is required. Defendant

Scarpello admits that ballot drop boxes provide an option to voters, that he is aware that some

voters use drop boxes to avoid delays with the US Postal Service, and Harris County has a large

minority population. Defendant Scarpello is without sufficient information or knowledge to admit

or deny the remaining allegations in Paragraph 159, therefore the allegations are denied.

       160.    Paragraph 160 contains legal conclusions and arguments to which no response is

required and statutory citations that speaks for themself. To the extent that the remaining

allegations in Paragraph 160 contains factual allegations to which a responsive pleading is

required, Defendant Scarpello is without sufficient information or knowledge to admit or deny the

remaining allegations, therefore the allegations are denied.

               2.      In-Person Voting

       161.    Paragraph 161 contains argument to which no responsive pleading is required. To

the extent a response is required, Defendant Scarpello is without sufficient information or

knowledge to admit or deny the allegations in Paragraph 161, therefore the allegations are denied.

       162.    Paragraph 162 contains legal conclusions and arguments to which no response is

required and statutory citations that speaks for themself. To the extent that the remaining

allegations in Paragraph 162 contains factual allegations to which a responsive pleading is

required, Defendant Scarpello admits that SB 1 prohibits drive-thru voting. Defendant Scarpello

is without sufficient information or knowledge to admit or deny the remaining allegations,

therefore the allegations are denied.

       163.    Paragraph 163 contains arguments and a statutory citation that speaks for itself.

Defendant Scarpello is without sufficient information or knowledge to admit or deny the remaining

allegations, therefore the allegations are denied.

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       164.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 164, therefore the allegations are denied.

       165.    Defendant Scarpello admits that SB 1 has certain rules regarding obtaining

assistance while voting in person. Defendant Scarpello is without sufficient information or

knowledge to admit or deny the remaining allegations in Paragraph 165, therefore the allegations

are denied.

       166.    Paragraph 166 contains legal conclusions and arguments to which no response is

required and statutory citations that speaks for themself. To the extent that the remaining

allegations in Paragraph 166 contains factual allegations to which a responsive pleading is

required, Defendant Scarpello admits that SB 1 includes rules regarding providing assistance to a

voter. Defendant Scarpello is without sufficient information or knowledge to admit or deny the

remaining allegations, therefore the allegations are denied.

       167.    Paragraph 167 statutory citations that speaks for themselves and legal conclusions

and arguments to which no response is required. To the extent that the remaining allegations in

Paragraph 167 contains factual allegations to which a responsive pleading is required, Defendant

Scarpello admits that SB 1 requires that persons assisting voters swear to certain matters.

Defendant Scarpello is without sufficient information or knowledge to admit or deny the remaining

allegations, therefore the allegations are denied.

       168.    Paragraph 168 contains legal conclusions and arguments to which no response is

required and statutory citations that speaks for themself. Defendant Scarpello is without sufficient

information or knowledge to admit or deny the remaining allegations in Paragraph 168, therefore

the allegations are denied.



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       169.     Paragraph 169 contains legal conclusions and arguments to which no response is

required and statutory citations that speaks for themself. To the extent that the remaining

allegations in Paragraph 169 contains factual allegations to which a responsive pleading is

required, Defendant Scarpello admits that SB 1 criminalizes certain conduct. Defendant Scarpello

is without sufficient information or knowledge to admit or deny the remaining allegations,

therefore the allegations are denied.

       170.     Paragraph 170 contains legal conclusions and arguments to which no response is

required.

                3.     Early Voting

       171.     Paragraph 171 contains legal conclusions and arguments to which no response is

required. Defendant Scarpello is without sufficient information or knowledge to admit or deny the

remaining allegations in Paragraph 171, therefore the allegations are denied.

       172.     Paragraph 172 contains legal conclusions and arguments to which no response is

required and statutory citations that speaks for themself. To the extent that the allegations in

Paragraph 172 contains factual allegations to which a responsive pleading is required, Defendant

Scarpello admits that SB 1 prohibits counties from operating early voting before 6:00am or later

than 10:00pm on certain days. Defendant Scarpello is without sufficient information or knowledge

to admit or deny the remaining allegations, therefore the allegations are denied.

       173.     Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 173, therefore the allegations are denied.

       174.     Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 174, therefore the allegations are denied.



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       175.    Paragraph 175 contains legal conclusions and arguments to which no response is

required and statutory citations that speaks for themself. Defendant Scarpello admits that the

majority of voters are ineligible to vote by mail and that expanded early voting hours provides

increased access to the polls. Defendant Scarpello is without sufficient information or knowledge

to admit or deny the remaining allegations, therefore the allegations are denied.

       176.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 176, therefore the allegations are denied.

       177.    Paragraph 177 contains legal conclusions and arguments to which no response is

required. Defendant Scarpello admits that SB 1 reduces the permissible early voting hours and he

is unaware of any data that shows unlawful activity is more likely to occur when polling places

operate before 6:00am or after 10:00pm. Defendant Scarpello is without sufficient information or

knowledge to admit or deny the remaining allegations, therefore the allegations are denied.

       178.    Defendant Scarpello admits that the County had certain discretion to offer extended

voting hours before SB 1 and that extended hours for early voting relieves congestion at polling

places. Defendant Scarpello is without sufficient information or knowledge to admit or deny the

remaining allegations, therefore the allegations are denied.

               4.      Partisan Watchers

       179.    Paragraph 179 contains legal conclusions and arguments to which no response is

required. Defendant Scarpello admits that SB 1 grants certain authority to poll watchers.

Defendant Scarpello is without sufficient information or knowledge to admit or deny the remaining

allegations, therefore the allegations are denied

       180.    Paragraph 180 contains legal conclusions and arguments to which no response is

required and statutory citations SB 1 that speaks for themself. Defendant Scarpello admits that SB

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1 now prohibits election officers in polling places from refusing to accept certain watchers,

prohibits anyone from denying watchers “free movement” within polling places, requires that

certain watchers be permitted to get close enough to “see and hear” a voter’s every activity in the

polling place (except for completion of a ballot at a voting station), criminalizes election officers’

intentional or knowing refusal to accept watchers for service, and further criminalizes any action

taken “to obstruct the view of a watcher or distance the watcher from the activity or procedure to

be observed in a manner that would make observation not reasonably effective.” To the extent that

the remaining allegations in Paragraph 180 contains factual allegations to which a responsive

pleading is required, Defendant Scarpello is without sufficient information or knowledge to admit

or deny, therefore the allegations are denied.

       181.    Paragraph 181 contains references to statutory citations that speaks for themselves

and legal conclusions and arguments to which no response is required.

       182.    Paragraph 182 contains legal conclusions and arguments to which no response is

required and statutory citations that speaks for themself. To the extent that the remaining

allegations in Paragraph 182 contains factual allegations to which a responsive pleading is

required, Defendant Scarpello is without sufficient information or knowledge to admit or deny,

therefore the allegations are denied

       183.    Paragraph 183 contains legal conclusions and arguments to which no response is

required. Defendant Scarpello is without sufficient information or knowledge to admit or deny the

allegations in Paragraph 183, therefore the allegations are denied.

       184.    Paragraph 184 contains argument to which no responsive pleading is required. To

the extent a response is required, Defendant Scarpello is without sufficient information or

knowledge to admit or deny the allegations in Paragraph 184, therefore the allegations are denied.

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       185.    As to the factual allegations included in Paragraph 185 regarding voter intimidation

and harassment, due to the vagueness and generality of these allegations, Defendant Scarpello is

without sufficient information or knowledge to admit or deny same, therefore the allegations are

denied. Defendant Scarpello admits that at certain points in American and Texas history there has

been voter intimidation. Defendant Scarpello is without sufficient information or knowledge to

admit or deny the allegations in Paragraph 185, therefore the allegations are denied.

       186.    Defendant Scarpello admits that during the 2020 general election there were media

reports of voter harassment by supporters of President Trump. Defendant Scarpello is without

sufficient information or knowledge to admit or deny the allegations in Paragraph 185, therefore

the allegations are denied.

       187.    Paragraph 187 contains argument to which no responsive pleading is required. To

the extent a response is required, Defendant Scarpello is without sufficient information or

knowledge to admit or deny the allegations in Paragraph 187, therefore the allegations are denied.

       188.    Paragraph 188 contains argument to which no responsive pleading is required. To

the extent a response is required, Defendant Scarpello admits that SB 1 includes provisions for

criminal and civil sanctions. Defendant Scarpello is without sufficient information or knowledge

to admit or deny the remaining allegations, therefore the allegations are denied

       189.    Paragraph 189 contains legal conclusions and argument to which no responsive

pleading is required. To the extent a response is required, Defendant Scarpello is without sufficient

information or knowledge to admit or deny the allegations in Paragraph 189, therefore the

allegations are denied.

       C.      State Interests



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       190.    Paragraph 190 contains legal conclusions and argument to which no responsive

pleading is required. To the extent a response is required, Defendant Scarpello is without sufficient

information or knowledge to admit or deny the allegations in Paragraph 190, therefore the

allegations are denied.

       191.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 191, therefore the allegations are denied.

       192.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 192, therefore the allegations are denied.

       193.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 193, therefore the allegations are denied.

       194.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 194, therefore the allegations are denied.

       195.    Paragraph 195 contains legal conclusions and argument to which no responsive

pleading is required. To the extent that a response is required, Defendant Scarpello is without

sufficient information or knowledge to admit or deny the remaining allegations in Paragraph 195,

therefore the allegations are denied.

       196.    Paragraph 195 contains arguments to which no responsive pleading is required.

Defendant Scarpello is without sufficient information or knowledge to admit or deny the

allegations in Paragraph 196, therefore the allegations are denied.

       197.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 197, therefore the allegations are denied.

       198.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 198, therefore the allegations are denied.

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       199.    Paragraph 199 contains legal conclusions and argument to which no responsive

pleading is required. To the extent a response is required, Defendant Scarpello admits that it is his

belief that it is possible that SB1 will deter some people from volunteering and that SB 1 creates

new requirements for election officials and voters. Defendant Scarpello also admits that SB 1 set

out new rules regarding voting. Defendant Scarpello is without sufficient information or

knowledge to admit or deny the remaining allegations in Paragraph 199, therefore the allegations

are denied.

IV.    Texas’s History of Suppressing Black and Latino Political Participation

       200.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 200, therefore the allegations are denied.

       201.    Paragraph 201 contains legal conclusions and arguments to which no response is

required and statutory/case law citations that speaks for themself. To the extent that the allegations

in Paragraph 201 contains factual allegations to which a responsive pleading is required, Defendant

Scarpello admits that at a certain point in Texas history it discriminated against certain minority

voters by using poll taxes and an all white primary system. Defendant Scarpello is without

sufficient information or knowledge to admit or deny the remaining allegations, therefore the

allegations are denied.

       202.    Defendant Scarpello admits that in 1866 freed slaves were generally not allowed to

vote or hold office in Texas and at certain point in Texas history it sought to suppress the minority

vote. Defendant Scarpello is without sufficient information or knowledge to admit or deny the

remaining allegations, therefore the allegations are denied.

       203.    Paragraph 203 contains case law or statute that speaks for themself. Defendant

Scarpello admits that at certain point in Texas history it sought to suppress the minority vote.

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Defendant Scarpello is without sufficient information or knowledge to admit or deny the remaining

allegations, therefore the allegations are denied.

       204.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 204, therefore the allegations are denied.

       205.    Defendant Scarpello admits that at a certain point in Texas history, the poll tax was

used to suppress the minority vote. Defendant Scarpello is without sufficient information or

knowledge to admit or deny the remaining allegations, therefore the allegations are denied.

       206.    Paragraph 206 contains citations to case law or statutes that speaks for themself.

Defendant Scarpello admits that the Voting Rights Act of 1965 increased registration rates for

Black and Latino voters in Texas. Defendant Scarpello is without sufficient information or

knowledge to admit or deny the remaining allegations, therefore the allegations are denied.

       207.    Paragraph 207 contains references to statistical data that speaks for itself.

Defendant Scarpello admits that there is a history of discrimination against Blacks and Latinos in

Texas and some Blacks and Latinos live in poverty. Defendant Scarpello is without sufficient

information or knowledge to admit or deny the allegations in Paragraph 207, therefore the

allegations are denied.

       208.    Paragraph 208 contains references to statistical data that speaks for itself. To the

extent a response is required, Defendant Scarpello is without sufficient information or knowledge

to admit or deny the allegations in Paragraph 208, therefore the allegations are denied.

       209.    Paragraph 209 contains references to statistical data that speaks for itself.

Defendant To the extent a response is required, Scarpello is without sufficient information or

knowledge to admit or deny the allegations in Paragraph 209, therefore the allegations are denied.

V.     Current Suppression of Black and Latino Political Participation

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       210.    Paragraph 210 contains argument to which no responsive pleading is required. To

the extent a response is required, Defendant Scarpello is without sufficient information or

knowledge to admit or deny the allegations in Paragraph 210, therefore the allegations are denied

       211.    Paragraph 211 contains references to statistical data that speaks for itself. To the

extent a response is required, Defendant Scarpello is without sufficient information or knowledge

to admit or deny the allegations in Paragraph 211, therefore the allegations are denied.

       212.    Paragraph 212 contains case law that speaks for itself.

       213.    Paragraph 213 contains case law that speaks for itself.

       214.    Paragraph 214 contains case law that speaks for itself.

       215.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 215, therefore the allegations are denied.

       216.    Paragraph 216 contains legal conclusions and arguments to which no response is

required and statutory/case law citations that speaks for themself. To the extent a response is

required, Defendant Scarpello admits that there are certain criminal penalties for certain acts under

the Texas Election Code. Defendant Scarpello is without sufficient information or knowledge to

admit or deny the remaining allegations, therefore the allegations are denied.

       217.    Paragraph 217 contains case law that speaks for itself. Defendant Scarpello admits

that former Secretary of State David Whitley issued an advisory decision to county registrars

claiming to have a list of 95,000 noncitizens who were unlawfully registered to vote, which had

errors, including failing to account for noncitizens who had since become naturalized. Defendant

Scarpello is without sufficient information or knowledge to admit or deny the remaining

allegations, therefore the allegations are denied.



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        218.    Due to the vagueness and generality of the allegations in Paragraph 218, Defendant

Scarpello is without sufficient information or knowledge to admit or deny same, therefore the allegations

are denied.

        219.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 219, therefore the allegations are denied.

        220.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 220, therefore the allegations are denied

        221.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 221, therefore the allegations are denied

        222.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 222, therefore the allegations are denied.

        223.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 223, therefore the allegations are denied.

        224.    Due to the vagueness and generality of the allegations in Paragraph 224, Defendant

Scarpello is without sufficient information or knowledge to admit or deny same, therefore the

allegations are denied.

        225.    Paragraph 225 contains legal conclusions and argument to which no responsive

pleading is required. To the extent a response is required. To the extent a response is required,

Defendant Scarpello is without sufficient information or knowledge to admit or deny the

allegations in Paragraph 225, therefore the allegations are denied.

        226.    Paragraph 226 contains references to quotes or ads from politicians that speak for

themself. To the extent that the allegations in Paragraph 226 contains factual allegations to which



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a responsive pleading is required, Defendant Scarpello is without sufficient information or

knowledge to admit or deny the allegations in Paragraph 226, therefore the allegations are denied.

          227.   Paragraph 227 contains references to quotes or ads from politicians that speak for

themself. To the extent that the allegations in Paragraph 227 contains factual allegations to which

a responsive pleading is required, Defendant Scarpello is without sufficient information or

knowledge to admit or deny the allegations in Paragraph 227, therefore the allegations are denied.

          228.   Paragraph 228 contains references to quotes or ads from politicians that speak for

themself. To the extent that the allegations in Paragraph 228 contains factual allegations to which

a responsive pleading is required, Defendant Scarpello is without sufficient information or

knowledge to admit or deny the allegations in Paragraph 228, therefore the allegations are denied.

          229.   Paragraph 229 contains references to quotes or ads from politicians that speak for

themself. To the extent that the allegations in Paragraph 229 contains factual allegations to which

a responsive pleading is required, Defendant Scarpello is without sufficient information or

knowledge to admit or deny the allegations in Paragraph 229, therefore the allegations are denied.

          230.   Defendant Scarpello admits that George Floyd and Breonna Taylor were killed in

incidents involving police shooting. Due to the vagueness and generality of the remaining

allegations in Paragraph 230, Defendant Scarpello is without sufficient information or knowledge

to admit or deny same, therefore the allegations are denied.

          231.   Paragraph 231 contains references to quotes or statements from politicians that

speak for themself. To the extent that the allegations in Paragraph 231 contains factual allegations

to which a responsive pleading is required, Defendant Scarpello is without sufficient information

or knowledge to admit or deny the allegations in Paragraph 231, therefore the allegations are

denied.

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       232.    Paragraph 232 contains references to quotes or ads from politicians that speak for

themself. To the extent that the allegations in Paragraph 232 contains factual allegations to which

a responsive pleading is required, Defendant Scarpello is without sufficient information or

knowledge to admit or deny the allegations in Paragraph 232, therefore the allegations are denied.

       233.    Paragraph 232 contains references to quotes or ads from politicians that speak for

themself. To the extent that the allegations in Paragraph 232 contains factual allegations to which

a responsive pleading is required, Defendant Scarpello is without sufficient information or

knowledge to admit or deny the allegations in Paragraph 232, therefore the allegations are denied.

       234.    Due to the vagueness and generality of the allegations in Paragraph 234, Defendant

Scarpello is without sufficient information or knowledge to admit or deny same, therefore the

allegations are denied.

       235.    Paragraph 235 contains case law that speaks for itself. Defendant Scarpello is

without sufficient information or knowledge to admit or deny the remaining allegations, therefore

the allegations are denied.

       236.    Paragraph 236 contains argument to which no responsive pleading is required. To

the extent a response is required, due to the vagueness and generality of the allegations in

Paragraph 236, Defendant Scarpello is without sufficient information or knowledge to admit or

deny same, therefore the allegations are denied.

       237.    Defendant Scarpello admits that generally Democratic voters are more likely than

Republican voters to support removing Confederate monuments from public spaces, oppose

immediate deportation of undocumented immigrants, and support immigration reform. Defendant

Scarpello is without sufficient information or knowledge to admit or deny the allegations in

Paragraph 237, therefore the allegations are denied.

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       238.    Paragraph 238 contains references to statistical data that speaks for itself. To the

extent a response is required, Defendant Scarpello is without sufficient information or knowledge

to admit or deny the allegations in Paragraph 238, therefore the allegations are denied.

       239.    Due to the vagueness and generality of the allegations in Paragraph 239, Defendant

Scarpello is without sufficient information or knowledge to admit or deny same, therefore the

allegations are denied.

       240.    Paragraph 240 contains references to statistical data that speaks for itself. To the

extent a response is required, Defendant Scarpello is without sufficient information or knowledge

to admit or deny the allegations in Paragraph 240, therefore the allegations are denied.

       241.    Paragraph 241 contains references to statistical data that speaks for itself. To the

extent a response is required, Defendant Scarpello is without sufficient information or knowledge

to admit or deny the allegations in Paragraph 241, therefore the allegations are denied.

       242.    Defendant Scarpello admits that the Texas Supreme Court is the highest state court

for civil and juvenile cases and the Texas Court of Criminal Appeals the highest state court for

criminal cases, and the justices are elected. Due to the vagueness and generality of the allegations

in Paragraph 242, Defendant Scarpello is without sufficient information or knowledge to admit or

deny the remaining allegations in Paragraph 242, therefore the allegations are denied.

                                     CLAIMS FOR RELIEF
                                             COUNT I
                                       52 U.S.C. § 10301(a)
                          Violation of Section 2 of the Voting Rights Act
                                      Against All Defendants

       243.    With regard to Paragraph 243, Defendant Scarpello repeats and reaffirms its

answers to each and every allegation contained in the paragraphs above and incorporate the same

herein as though fully set forth herein.

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       244.    Paragraph 244 contains legal conclusions to which no response is required and

statutory citations/case law that speaks for themself.

       245.    Paragraph 245 contains arguments to which no response is required and statutory

citations/case law that speaks for themself.

       246.    Paragraph 246 contains legal conclusions and argument to which no responsive

pleading is required. Defendant Scarpello admits that the Texas Legislature passed SB 1 and there

was record turnout of Black and Hispanic voters in Texas in the 2020 election. As to the remainder

of the allegations, Defendant Scarpello is without sufficient information or knowledge to admit or

deny same, therefore the allegations are denied.

       247.    Paragraph 247 contains legal conclusions and argument to which no responsive

pleading is required. To the extent a response is required, Defendant Scarpello is without sufficient

information or knowledge to admit or deny the allegations in Paragraph 247, therefore the

allegations are denied.

       248.    Paragraph 248 of Plaintiff’s Complaint contains legal conclusions and argument to

which no responsive pleading is required. To the extent that the remaining allegations in Paragraph

248 contains factual allegations to which a responsive pleading is required, Defendant Scarpello

is without sufficient information or knowledge to admit or deny the remaining allegations,

therefore the allegations are denied.

                                      COUNT II
                      U.S. Const. Amends. I, XIV; 42 U.S.C. § 1983
                           Undue Burden on the Right to Vote
     Against Defendants Callanen, DeBeauvoir, Longoria, Ramón, Scarpello, and Wise




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       249.    With regard to Paragraph 249, Defendant Scarpello repeats and reaffirms its

answers to each and every allegation contained in the paragraphs above and incorporate the same

herein as though fully set forth herein.

       250.    Paragraph 250 contains legal conclusions to which no response is required and

references to Constitutional provisions that speaks for themself.

       251.    Paragraph 251 contains arguments to which no response is required and citations

to case law that speak for themself.

       252.    Paragraph 252 contains citations to case law that speaks for themself.

       253.    Paragraph 253 of Plaintiff’s Complaint contains arguments to which no responsive

pleading is required. To the extent that the allegations in Paragraph 253 contains factual allegations

to which a responsive pleading is required, Defendant admits that these are the provisions that

Plaintiff is challenging in this lawsuit. Defendant Scarpello is without sufficient information or

knowledge to admit or deny the remaining allegations, therefore the allegations are denied.

       254.    Paragraph 254 of Plaintiff’s Complaint contains legal conclusions and arguments

to which no responsive pleading is required. To the extent that the allegations in Paragraph 254

contains factual allegations to which a responsive pleading is required, Defendant Scarpello admits

there is a fundamental right to vote and SB 1 creates new requirements for election officials and

voters. Defendant Scarpello is without sufficient information or knowledge to admit or deny the

remaining allegations, therefore the allegations are denied.

       255.    Paragraph 255 of Plaintiff’s Complaint contains legal conclusions and arguments

to which no responsive pleading is required. Defendant Scarpello admits that he is aware that

Harris County voters used drop boxes in the 2020 general election. To the extent that the

allegations in Paragraph 255 contains factual allegations to which a responsive pleading is

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required, Defendant Scarpello is without sufficient information or knowledge to admit or deny the

remaining allegations, therefore the allegations are denied.

       256.    Paragraph 256 of Plaintiff’s Complaint contains legal conclusions and arguments

to which no responsive pleading is required. To the extent that the allegations in Paragraph 256

contains factual allegations to which a responsive pleading is required, Defendant Scarpello is

without sufficient information or knowledge to admit or deny the allegations, therefore the

allegations are denied.

       257.    Paragraph 257 contains legal conclusions and arguments to which no response is

required. To the extent that the allegations in Paragraph 257 contains factual allegations to which

a responsive pleading is required, Defendant Scarpello admits that SB 1 grants certain authority to

watchers and sets forth certain criminal penalties for barring watchers as set forth in the statute.

Defendant Scarpello is without sufficient information or knowledge to admit or deny the remaining

allegations, therefore the allegations are denied

       258.    Paragraph 258 contains legal conclusions and arguments to which no response is

required. To the extent that the allegations in Paragraph 258 contains factual allegations to which

a responsive pleading is required, Defendant Scarpello is without sufficient information or

knowledge to admit or deny the allegations, therefore the allegations are denied.

       259.    Due to the vagueness and generality of the allegations in Paragraph 259, Defendant

Scarpello is without sufficient information or knowledge to admit or deny same, therefore the

allegations are denied.

       260.    Paragraph 260 contains legal conclusions and arguments to which no response is

required. Defendant Scarpello is without sufficient information or knowledge to admit or deny the

allegations in Paragraph 260, therefore the allegations are denied.

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       261.    Paragraph 261 of Plaintiff’s Complaint contains arguments to which no responsive

pleading is required. To the extent that the allegations in Paragraph 261 contains factual allegations

to which a responsive pleading is required. Defendant Scarpello is without sufficient information

or knowledge to admit or deny the remaining allegations, therefore the allegations are denied.

       262.    Paragraph 262 of Plaintiff’s Complaint contains arguments to which no responsive

pleading is required. To the extent that the allegations in Paragraph 262 contains factual allegations

to which a responsive pleading is required. Defendant Scarpello is without sufficient information

or knowledge to admit or deny the remaining allegations, therefore the allegations are denied.

                                      COUNT III
                     U.S. Const. Amends. I, XIV; 42 U.S.C. § 1983
                       Restriction on Free Speech and Expression
 Against Defendants Paxton, Callanen, DeBeauvoir, Longoria, Ramón, Scarpello, and Wise

       263.    With regard to Paragraph 263, Defendant Scarpello repeats and reaffirms its

answers to each and every allegation contained in the paragraphs above and incorporate the same

herein as though fully set forth herein.

       264.    Paragraph 264 contains legal conclusions to which no response is required and

citations to case law that speaks for themself.

       265.    Paragraph 265 contains legal conclusions to which no response is required and

citations to case law that speak for themself.

       266.    Paragraph 266 contains legal conclusions to which no response is required and

citations to case law that speak for themself.

       267.    Paragraph 267 contains legal conclusions to which no response is required and

citations to statutory provisions that speak for themself. To the extent that the allegations in

Paragraph 267 contains factual allegations to which a responsive pleading is required, Defendant


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Scarpello admits that SB 1 limits certain interactions with voters,. Defendant Scarpello is without

sufficient information or knowledge to admit or deny the remaining allegations, therefore the

allegations are denied.

       268.    Paragraph 268 contains legal conclusions or arguments to which no response is

required. To the extent that the allegations in Paragraph 268 contains factual allegations to which

a responsive pleading is required, Defendant Scarpello admits that SB 1 limits certain interactions

with voters. Due to the vagueness and generality of the allegations in Paragraph 268, Defendant

Scarpello is without sufficient information or knowledge to admit or deny same, therefore the

allegations are denied.

       269.    Paragraph 269 contains legal conclusions to which no response is required and

citations to statutory provisions that speak for themself. To the extent that the allegations in

Paragraph 269 contains factual allegations to which a responsive pleading is required, Defendant

Scarpello admits that SB 1 limits certain assistance to voters involving compensation or other

benefits. Defendant Scarpello is without sufficient information or knowledge to admit or deny the

remaining allegations, therefore the allegations are denied.

       270.    Paragraph 270 contains augments to which no response is required and citations to

statutory provisions that speak for themself. To the extent that the allegations in Paragraph 270

contains factual allegations to which a responsive pleading is required, Defendant Scarpello is

without sufficient information or knowledge to admit or deny the remaining allegations, therefore

the allegations are denied.

       271.    Paragraph 271 contains legal conclusions and arguments to which no response is

required. To the extent that the allegations in Paragraph 271 contains factual allegations to which



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a responsive pleading is required, Defendant Scarpello is without sufficient information or

knowledge to admit or deny the remaining allegations, therefore the allegations are denied.

          272.   Paragraph 272 contains legal conclusions and arguments to which no response is

required. To the extent that the allegations in Paragraph 272 contains factual allegations to which

a responsive pleading is required, Defendant Scarpello is without sufficient information or

knowledge to admit or deny the remaining allegations, therefore the allegations are denied.

          273.   Paragraph 273 contains legal conclusions and arguments to which no response is

required. To the extent that the allegations in Paragraph 273 contains factual allegations to which

a responsive pleading is required, Defendant Scarpello admits that it is his belief that it is possible

that SB1 may deter some people from volunteering. Defendant Scarpello is without sufficient

information or knowledge to admit or deny the remaining allegations, therefore the allegations are

denied.

          274.   Paragraph 274 of Plaintiff’s Complaint contains legal conclusions and arguments

to which no responsive pleading is required and citations to statutory provisions that speak for

themself. To the extent that the allegations in Paragraph 274 contains factual allegations to which

a responsive pleading is required, Defendant Scarpello is without sufficient information or

knowledge to admit or deny the remaining allegations, therefore the allegations are denied.

          275.   Paragraph 275 of Plaintiff’s Complaint contains legal conclusions and arguments

to which no responsive pleading is required. To the extent that the allegations in Paragraph 275

contains factual allegations to which a responsive pleading is required. Defendant Scarpello is

without sufficient information or knowledge to admit or deny the remaining allegations, therefore

the allegations are denied.

                                            COUNT IV

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                                        52 U.S.C. § 10508
                        Violation of Section 208 of the Voting Rights Act
                                     Against All Defendants

       276.    With regard to Paragraph 276, Defendant Scarpello repeats and reaffirms its

answers to each and every allegation contained in the paragraphs above and incorporate the same

herein as though fully set forth herein.

       277.    Paragraph 277 contains legal conclusions to which no response is required and

statutory citations that speaks for themself.

       278.    Paragraph 278 contains legal conclusions to which no response is required and

statutory citations to legislative history that speaks for itself. Defendant Scarpello is without

sufficient information or knowledge to admit or deny the remaining allegations in Paragraph 278,

therefore the allegations are denied.

       279.    Paragraph 279 contains legal conclusions to which no response is required and

statutory/case law citations that speaks for themself.

       280.    Paragraph 280 contains legal conclusions to which no response is required and

citations to statutory provisions that speak for themself. To the extent that the allegations in

Paragraph 280 contains factual allegations to which a responsive pleading is required, Defendant

Scarpello admits that SB 1 limits certain interactions with voters in the presence of an official

ballot as set forth in the statute. Defendant Scarpello is without sufficient information or

knowledge to admit or deny the remaining allegations, therefore the allegations are denied.

       281.    Paragraph 281 contains legal conclusions to which no response is required and

citations to statutory provisions that speak for themself. To the extent that the allegations in

Paragraph 281 contains factual allegations to which a responsive pleading is required, Defendant

Scarpello admits that SB 1 limits certain assistance to voters in the presence of an official ballot

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involving compensation or other benefits. Defendant Scarpello is without sufficient information

or knowledge to admit or deny the remaining allegations, therefore the allegations are denied.

          282.   Paragraph 282 contains legal conclusions or arguments to which no response is

required. Defendant Scarpello admits that SB 1 limits certain assistance to voters in the presence

of an official ballot involving compensation or other benefits and that federal law provides that

certain voters are entitled to receive assistance. Defendant Scarpello is without sufficient

information or knowledge to admit or deny the remaining allegations, therefore the allegations are

denied.

          283.   Paragraph 283 contains legal conclusions or arguments to which no response is

required. To the extent a response is required, Defendant Scarpello is without sufficient

information or knowledge to admit or deny the remaining allegations, therefore the allegations are

denied.

                                     PRAYER FOR RELIEF

          284.   Defendant Scarpello denies the allegations, if any, contained in the Prayer section

of the Complaint and denies that Plaintiff is entitled to the relief requested, including declaratory

or injunctive relief relative to Defendant Scarpello, and denies that Plaintiff may recover any costs,

disbursements, and reasonable attorney’s fees from Defendant Scarpello.

                             DEFENSES AND AFFIRMATIVE DEFENSES

          285.   By pleading the following Defenses or Affirmative Defenses, Defendant does not

concede that each of the matters covered by the numbered defenses is to be proven by Defendant,

and Defendant reserves its position that Plaintiffs retain the burden of proof on all matters

necessary to prove the claims asserted in the Complaint and to establish their alleged damages.

                                         FIRST DEFENSE

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        286.   The Complaint, in whole or in part, fails to state a claim upon which relief can be

granted as to Defendant Scarpello.

                                       SECOND DEFENSE

        287.   Defendant Scarpello at all times acted in accordance with the United States

Constitution and the laws of the State of Texas and in good faith.

                                        THIRD DEFENSE

        288.   Plaintiffs lack standing on some or all off their claims.

                                       FOURTH DEFENSE

        289.   Plaintiffs Section 1983 claims are barred to the extent that Defendant Scarpello is

not a policymaker as to SB111. Defendant Scarpello is not empowered or authorized to change

Texas law passed by the Legislature and signed by the Governor. Defendant Scarpello also is not

afforded discretion in enforcement of the requirements under SB111.

                                        FIFTH DEFENSE

        28.    Plaintiffs’ claims are barred in whole or in part by sovereign immunity, including

11th amendment immunity to the extent that Defendant Scarpello is enforcing/applying state law,

SB 1.

                                        SIXTH DEFENSE

        290.   Plaintiffs’ claims against Defendant Scarpello are barred to the extent that he has

no power to redress Plaintiffs’ injuries.

                                      SEVENTH DEFENSE

        291.   To the extent that Plaintiffs have not sustained any injury or damage as a result of

any actions taken by Defendant Scarpello, they should be barred from recovering against him.


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Equity and justice bar Plaintiffs’ recovery of attorneys’ fees from Defendant Scarpello in this

lawsuit.

       292.    Defendants reserve the right to raise additional defenses and affirmative defenses

to the claims alleged.

                                         JURY DEMAND

       293.    Defendant Scarpello hereby demands a trial by jury on all triable issues. Fed. R.

Civ. P. 38(b); Fed. R. Civ. P. 81(c)(3)(b).

                                                PRAYER

       WHEREFORE, PREMISES CONSIDERED, Defendant Scarpello prays that the Court

will dismiss this suit with prejudice as to Defendant Scarpello, that Plaintiff take nothing by this

action against him, that he recover his costs including a reasonable attorney’s fee herein, and any

other relief to which he may be justly entitled under the law.

                                              Respectfully submitted,

                                              JOHN CREUZOT
                                              DISTRICT ATTORNEY

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                                             ATTORNEYS FOR DEFENDANT MICHAEL
                                             SCARPELLO IN HIS OFFICIAL CAPACITY
                                             AS DALLAS COUNTY ELECTIONS
                                             ADMINISTRATOR

                                CERTIFICATE OF SERVICE

       I, the undersigned counsel, certify that I electronically transmitted the attached document

to the Clerk of Court using the ECF System for filing on October 25, 2021. Based on the records

currently on file, the Clerk of Court will transmit a Notice of Electronic Filing to the following

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